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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF TEXAS S
                             AN ANTONIO DIVISION

In re:                                 §             Chapter 11
KRISJENN RANCH, LLC                    §
       Debtor                          §          Case No. 20-50805
                                       §
_________________________________________________________________________

KRISJENN RANCH, LLC and                §
KRISJENN RANCH, LLC-SERIES             §
UVALDE RANCH, and KRISJENN             §
RANCH, LLC-SERIES PIPELINE             §
ROW as successors in interest to       §
BLACKDUCK PROPERTIES, LLC,             §
     Plaintiffs                        §
                                       §
v.                                     §
                                       §
DMA PROPERTIES, INC., and              §
LONGBRANCH ENERGY, LP,                 §        Adversary No. 20-05027
      Defendants                       §
_________________________________________________________________________

DMA PROPERTIES, INC                          §
     Cross-Plaintiff/Third Party Plaintiff   §
v.                                           §
                                             §
KRISJENN RANCH, LLC,                         §
KRISJENN RANCH, LLC-SERIES                   §
UVALDE RANCH, and KRISJENN                   §

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 Order on Debtors’ Objections and Motion to Quash Third-Party Subpoena
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RANCH, LLC-SERIES PIPELINE ROW,                      §         Adversary No. 20-05027
BLACK DUCK PROPERTIES, LLC,                          §
LARRY WRIGHT, and JOHN TERRILL                       §
    Cross-Defendants/Third-Party                     §
    Defendants                                       §

      ORDER ON KRISJENN RANCH, LLC, KRISJENN RANCH, LLC-SERIES
   UVALDE RANCH, AND KRISJENN RANCH, LLC-SERIES PIPELINE ROW, AS
  SUCCESSORS IN INTEREST TO BLACK DUCK PROPERTIES’ FIRST AMENDED
      OBJECTIONS AND MOTION TO QUASH THIRD PARTY SUBPOENA


        CAME TO BE HEARD on this day KrisJenn Ranch, LLC, KrisJenn Ranch, LLC-Series

 Uvalde Ranch, KrisJenn Ranch, LLC-Series Pipeline Row, and KrisJenn Ranch, LLC as successor

 in interest to Black Duck Properties’ First Amended Objections and Motion to Quash Third Party

 Subpoena, and appearing to the Court that notice was sufficient under the circumstances and that

 the relief sought should be granted; it is hereby

        ORDERED that the Motion is granted as set forth herein; and it is further

        ORDERED that the Third Party Subpoena to David Strolle is quashed in its entirety.

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       Respectfully submitted,

       MULLER SMEBERG, PLLC

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